Case 18-34112 Document 1 Filed in TXSB on 07/27/18 Page 1 of 11

Fil| in this information to identify the case:

United States Bankruptcy Court for the:

SOUTHERN DESTRECT OF TEXAS
. [3 Check if this is an
Case number (\f known): amended filing

 

 

Official Form 201

Vo|untary Petition for Non-lndividua|s Fi|ing for Bankruptcy 04116
W
|f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and

the case number (if known). For more information, a separate document, |nstructions for Bankruptcy Forms for Non-

|ndividua|s, is avaiiab|e.

1. Debtor's name Paradigm Telecom |l, LLC

2. A!l other names debtor used
in the last B years

include any assumed names,
trade names and doing
business ss names

3. Debtor's federal Emp|oyer

identificationNumber(ElN) 3 1 “' 4 4 2 6 1 6 6

4. Debtor's address Principal place of business N|ai|ing address, if different from pr|nclpal
place of business

 

 

 

 

 

 

 

 

 

14850 Woodham Drlve
Number Slree£ Ntzmbsr Streel
Suite 1058
F'.O. Box
Houston TX 77073
Cl‘fy Stste ZEP Code Cily S!sts ZlP Code
Locat|on of principal assets, if different
Harris from principal place of business
County
Number Slreet
City State Z|F' Cocfe
5. Debtor's website (URL} www.paradigmtelecom.com
6. Type of debtor g Corporation (including Limi£ed Liabi|ity Company (E.LC) and Limited liability Partnership (E.LP))

|:[ F’artnership (exc|uding E_LP)
|:j Other. Specify:

 

Officia| Form 201 Vo|untary Pet|tion for Non-|ndividua|s F||ing for Bankruptcy page f

 

Debtor Paradigm Telecom |t, LLC

Case 18-34112 Document 1 Filed in TXSB on 07/27/18 Page 2 of 11

Case number (if known)

 

 

 

   

 

 

 

T. Describe debtor's business A. Checi< ones
n Hea|th Care Business (as defined in 11 U.S.C. § 101(27A))
n Sing|e Asset Reai Estate (as defined in 11 U.S.C. § 101(513))
E Raiiroad (as defined in t1 U.S.C. § 101(44))
ij Stoci<brot<er (as defined in 11 U.S.C. § 101(53A))
n Commodity Broker (as defined in 11 U.S.C. § 101(6))
ij Ctearing Bank (as defined in 11 U.S.C. § 781(3))
g None of the above
B. Check ali theiappiy:
m Tax-exempt entity (as described in 26 U.S.C. § 501)
m investment company, including hedge fund or pooled investment vehicle (as defined in
15 U.S.C. § 80a-3)
]'_] investment advisor (as defined in 15 U.S.C. § 80b-2(a}(11))
C. NAICS (North American industry Ctassl'ficat|on Systern) 4-digit code that best describes debtor. See
httg://wvi.w.uscourts.govifour-digit-nationaE-association-naics~codes
8. Uhder which chapter of the Check one:
Bankruptcy Code is the
debtor firing? lIi Chapfer 7
|:| Chapter 9
m Chapter 11. Check all that appiy.'

|:| Debtor's aggregate noncontingent liquidated debts (exciuding debts owed to
insiders or affitiates) are less than $2.566.050 (amcunt subject to adjustment on
4/01:'19 and every 3 years after that).

m The debtor is a small business debtor as defined in 11 U.S,C. § 101(510). if the
debtor is a smati business debtor, attach the most recent balance sheet,
statement cf operations. cash-fiow statement, and federal income tax return or if
a|| of these documents do not exist, follow the procedure in
ti U.S.C. § 1116(1)(\3).

n A plan is being fited with this petition.

E Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

[_] The debtor is required to fiie periodic reports (for exampie, 10K and 100) with the
Securities and Exchange Commission according to § 13 or i§(d) of the Securities
Exchange Act of 1934. Fite the Attachment to Votuntary Petiticn for Non-
individuals Fiiing for Bankruptcy Under Chapter ti (Official Forrn 201A) with this
form.

g The debtor is a shet| company as defined in the Securities Exchange Act of t934
Ru|e 12b~2.

|:| Chapter 12
9. Were prior bankruptcy m No

cases filed by or against
the debtor With;n the gast 3 |:] Yes. Dtstrict \Nhen Case number
years? lvilvt 1 DD rYYY\:'
it more than 2 cases, attach a instruct When MM f DD fm ease number
separate tist.

Disirict When Case number

MM r DD rYYYY

Ofticiat Form 201 Voiuntary Petition for Non-individuats Fi|ing for Bankruptcy

page 2

Case 18-34112 Document 1 Filed in TXSB on 07/27/18 Page 3 of 11

Debtor Paradlgm Teiecom il, LLC

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

l.ist ali cases. if more than 1,
attach a separate iist.

11. Why is the case filed in
this districf?

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

Case number {if known)

 

 

 

 

 

M No
|:i Yes. Debtor Reiationship
District When
i\iiNi i DD l YYYY
Case numberI if known
Debtor Reiationship
District When
MM r DD l YYYY
Case number, ii known
Check ali that appiy:

w Debtor has had its domicile, principat ptace of business, or principal assets in this district for 180
days immediately preceding the date of this petition or for a longer pan of such 180 days than in
any other district

|:| A bant<ruptcy case concerning debtor's affitiate, general partner, or partnership is pending in this
district.

g No

E Yes. Answer below for each property that needs immediate attention Attach additional sheets if
needed.
Why does the property need immediate attention? (Check aii that appiy.)

g lt poses or is alleged to pose a threat of imminent and identifiable hazard to pub§ic health or
safety.
What is the hazard?

 

n it needs to be physically secured or protected from the weather.

[] it includes perishabte goods or assets that could quickty deteriorate or lose value without
attention (forexampie, livestockl seasonal goodsl meat, dairy, produce, orsecurities-
related assets or other options).

[] Other

 

Where is the property?

 

Number Street

 

 

City State ZiP Code

ts the property insured?

mNo

[;| Yes. insurance agency

 

Contact name

 

Phone

- Statistica| and adminstrative information

13. Debtor's estimation of
available funds

Offtciat Forrn 201

Check one.'

Funds will be available for distribution to unsecured creditors

m After any administrative expenses are paid, no funds wilt be available for distribution to unsecured
creditorsl

Vo|untary Petition for Ncn-individuais Fiiing for Bankruptcy page 3

 

Case 18-34112

Debtor Paradigm Te|ecorn il, LLC

Case number (if known)

Document 1 Filed in TXSB on 07/27/18 Page 4 of 11

 

14. Estimated number of 1-49 1,000~5,000 25,001-50,000
Creditors 50-99 5,001-10,000 50.001-100.000
100-199 10,001~25,000 iV|ore than 100,000
200-999
15. Estimated assets $0-$50.000 $1.000.001»$10 million $500,000,001-$1 bit|ion

16. Estimated llabiiities

$50,09'| -$'l O0,0DO
$l OD,GOl-$500.000
$500.001»$1 million

$O~$S0.0GO
$50,001-$100,000
$100,001-$500,000

$10,000,00‘£-$50 million
$50,000.001-$100 million
$100,000,001-$500 million

$1,000,001-$10 million
$10,000,001~$50 million
$50.000,001-$100 million

$1,000,000.001-$10 billion
$10,000,000.001~$50 bi|fion
i\itore than $50 billion

$500,000,001-$‘| billion
$1,000,000,001-$10 biiiion
$10,000,000,001-$50 biilion

l:ll:ll:ll:i UEii'_-ll:l E|UEE
L_.|l:ll:]l§l lj|:l|`_`ll:l E]Et[i
Ei"_]l:li:l l:ii'_'ii:iCi El[]l:l

$500,001-$1 ml|iion $100,000,001-$500 rn|!ilon iif|ore than $50 bl|ilol'i

- Request for Relief, Declaration, and Signatures

WARN|NG -»Eiankruptcy fraud is a serious crime ivlaking a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 15 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Deciaration and signature of l The debtor requests relief in accordance with the chapter of titte ii, Unitect States Code, specified in

 

 

 

authorized representative this petitionl
of debtor
l l have been authorized to fite this petition on behalf of the debtor.
l | have examined the information in this petition and have a reasonable belief that the information is
true and correct
| declare under penalty of perjury that the foregoingl is\rue and correct
Executed on t/MY ill "__"
_._,/' "::\\M ......... ‘
,: /:L»/”'” Briar\ Beers
xSignat`i]re <:?Morrzed Wi€@e/M:\ of debtor Printed name
Tii|e_,Prestde// /e
18. Signature of attorney X il g

 

 

 

/:;gnatdre di attol=ney for debl;]:
t

chard Lee Fuqua ll
Printed name

Fuqua & Associates, P.C.

 

 

 

Firm name

5005 Riverway, Suite 250

Number Street

tiouston TX 77056
City State ZiP Code

(713) 960-0277
Contact phone

07552300 TX
Bar number State

 

 

Ernai| address

Officiai Forrn 201 Voluntary Petition for Non-|nciividua|s Fiiing for Bankruptcy page 4

 

Case 18-34112 Document 1 Filed in TXSB on 07/27/18 Page 5 of 11

365 Data Ccnters
200 Connecticut Ave., Suitc SA
Norwaii<, CT 06854

Ali Statc Cornmunications
5114 Marson Drive
Sauk Rapids, MN 56379

Alpheous Communioations LLC
PO Box 301628
Dallas, TX 75303-1628

APX Net
2 School St., Ste. 2
Berwick, ME 03 901

Arrnstrong Onewirc
PO Box 37749
Philadelphia, PA 19101~5049

Arvig Enterprises, Inc.
PO Box 110
Perharn, MN 56573

Atiantic Broadband
PO Box 371801
Pittsburgh, PA 15250-7801

Aurcon Commuications LLC
7760 Office Plaza Dr. S. Wcst
Des Moincs, IA 50266

Cable 0ne
210 E. Earil Dr.
Phoenix, AZ 85012

Ccntulylink
1820 E Sky Harbor Circle, S #150
Phoenix, AZ 85034

Christi Caple & Carol I-Iall
2214 Lazy Traii Path Ct.
Spring, TX 77373

Cogent Commumications

Case 18-34112 Document 1 Filed in TXSB on 07/27/18 Page 6 of 11

PO BOX 791087
Bali:imore, MD 21279

Comcast Busincss
PO Box 3001
Southcastcrn, PA 193 98-3001

ConnectedZFiber Inc.
53 Summcr St.
Milford, MA 01757

Corsitc, LP
1001 17TH St, Stc 500
Denvcr, CO 80202

CVIN LLC - Vast
744'7 N. Paim Bluffs, Suite 105
Fresno, CA 93711~5773

Data Bank Holdings Ltd
PO BoX 732200
Dallas, TX 753'73-2200

Digitai Realty Tmst DBA Teix
PO BOX 419729
Boston, MA 02241-»9729

Digital Rcalty Trust, LP
PO Box 419729
Boston, MA 02241-9729

Eng-Sky Enterprisc, LLC
142 Westwood Dr.
RockWall, TX 75032

Epsilon Teiecomrnunications
151 Lorong Chuon #06~01A
SINGAPORE

Equinix, lnc
4252 Solutions Centcr
Chicago, IL 606“/'7-4002

Evcrstearn Solutions, LLC
1228 Euclid Avc, Ste 250

Case 18-34112 Document 1 Filed in TXSB on 07/27/18 Page 7 of 11

Cleveiand, OH 44115

Fibcriight, LLC
11700 Gl‘eat Oaks Way, Ste 100
Alpharetta, GA 30022

First Light Fiber & Oxford Netwrks
PO BOX 1 1 019
Lewiston, ME 04243~9470

Francisco Maclla
2218 Surnmcrbiossom Ln.
Houston, 'i`X 77077

Georgia Public Web
PO BOX 420888
Atlanta, GA 30342

Goid Data Panama Corp

Ofc 218 Intcrnational Busincss PK
EDIF. 3845

Panama Paciiico, PANAMA

Grcg Hagcrman
1504 Broadway Ave.
Mattoon, IL 61938

GTT Comtmicat`lons Inc.
7900 Tysons Onc Place, Stc 1450
McLean, VA 22102

Harrisonvillc Telephone Co
PO BOX 389
Watcrloo, IL 62298

Hudson Fiber Network
12 N. State Rt. 17, Ste. 120
Paramus, NJ 07652

Hurrican Electric Iniernet Scrvs
760 Mission Court
Frcrnont, CA 94539

ICTX
14850 Woodham Dr., #B-105

Case 18-34112 Document 1 Filed in TXSB on 07/27/18 Page 8 of 11

Houston, TX 77073

Indiana Fiber thwork, LLC
5520 W 76th St
Indianapoiis, IN 46268

industry Assurahce Consuiting
6303 BLUE Lagon Dr, Ste 400
Miami, FL 33126

intercarricr Networks, LLC
135 N Mcramcc Avc, Ste 501
Clayton, MO 63105

Level3 Cornmunioations
PO BOX 91 01 82
Dcnvcr, CO 80291-0182

Lightowcr Fiber thwork, LLC
PO BOX 27135
New York, NY 10087-7135

Marcatel

AVE SAN JERON1MO 210
PTE MONTERREY
MONTERREY NL CP64640

Marina De.`iesus Pcrkins
7253 Huntingdon St.
Harrisburg, PA 171 1 1

MCC Network Services, LLC
8 S, Washington St.
Sullivan, IL 61951

Mediacom
PO BOX 5744
Carol Stream, IL 60197-5744

Metro Fibcrnct LLC
PO BOX 630903
Cincinnati, OH 45263-0903

Missouri thwork Biue Bird Ntwrk
2005 W Broadway Bldg A Ste 215

Case 18-34112 Document 1 Filed in TXSB on 07/27/18 Page 9 of 11

Colurnbia, MO 65203

thrality
MMR - PO Box 7863 32
Phi1adelphia, PA 19178-6332

Newdawn Fiber
PO BOX 178
Excelsior Springs, MO 64024

Noanct
7195 Wagner Way, Ste. 104
Gig Harbor, WA 98335

NTS Communications, Inc
PO BOX 10730
Lubbock, TX 79408~3730

Optimum
PO BOX 742698
Cincinnati, OH 45274-2698

Platcomm Corp
701 Brickwll Avc, Ste 1550
Miami, PL 33131

Samii‘ Litric
2201 Clayviilc Court
Chcsterticld, MO 63017

Scott Widham
1111 Caroline Street, #3 006
Houston, TX 77010

Shentci - Shcnandoah Tel
PO BOX 37014
Baitimorc, MD 21297~3014

Sho-Mc Techn01ogies, LLC
PO BOX D
Marshficld, MO 65706

Sooket
PO BOX 1118
Columbia, MO 65205-1118

Case 18-34112 Document 1 Filed in TXSB on 07/27/18 Page 10 of 11

Spectrum Entcrprises
PO BOX 790450
St. Louis, MO 63179-0450

Stratus Nstworks
4700 N. Prospect Road, Ste 8
Pcoria Heights, IL 616496

Suddenlink
130 BOX 660365
Dallas, TX 75266-0365

Summit Infrastructure Group, lnc.
252375 Broderick Dr., Ste. 165
Sterling, VA 20166

Sunset Digital Communications
PO BOX 405
Dufficld, VA 24244

TDS Long Disiance Corporation
PO BOX 1450
Minheapolis, MN 5 5485-8702

Tin Cup Investments
10600 Ballantrae Dr.
St. Louis, MO 63131

Typc2Tctecom, LLC
21 Main St. #6
Ashbury Park, NJ 77073

Uf`met
Calie 72 No. 5-83 Ofc.1202
Bogota, Columbia

Unite Private Networks, LLC
7200 NW 86th ST, St. M
Kansas City, MO 64153

US Signai
201 lonia Ave, SW
Grend Rapids, M149503

Verizon Business thwol‘k Svcs

Case 18-34112 Document 1 Filed in TXSB on 07/27/18 Page 11 of 11

PO BOX 15043
Albany, N.i 12212-5043

Waltcr Goltermann
8300 Eager Road, Suitc 601
Brentwood, 1\/10 63144

Wave Wholesalc
PO BOX 35164
Seattle, WA 98124-5164

Wilcon - Crown Castle
PO BOX 21653
Ncw York, NY 10087-1653

Windstrearn KDL inc
C/O Bank of America
St. Louis, MO 63160-0549

Wow Wholcsalc
1241 O.G. Skinner Dr.
Westpoint, GA 31833-1789

Zayo Group -007490
1821 30111 St, Unit A
Bouider, CO 80301

Zito Mcdia Communications LLC
PO BOX 665
Coudcrsport, PA 16915

